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IN THE UNITED STATES DISTRICT COURT 05\/(/( §
FOR THE WESTERN DISTRICT OF TENNESSE]S£ 96 p0 QC?
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EASTERN DIVISION yg?/{JM,, iv /)
AN A ENNETT /“?»/F%§f

W D F. B , § .L,HI/Ug/,W
Plaintiff, )
)

vs. ) No. 05_1149-r

)
CoMMIssloNER oF )
soCIAL sECURrrY, )
)
Defendant. )

ORDER REGARDING BRIEFING SCHEDULE
This is an action for review of a decision of the Comrnissioner of Social Security
denying Plaintif`f‘s application for benefits under the Social Security Act.
The following briefing schedule is hereby established in this matter:

Plaintiff‘s brief in support of this appeal must be filed Within 30 days of the
date of this order.

Defendant's brief in opposition to this appeal must be filed Within 30 days after
service of Plaintiff's brief.

If Plaintiff wishes to file a reply brief, Such brief rnust be filed Within 10 days after
service of` Def`endant's brief.

Failure of either party to comply With this order Will result in appropriate sanctions,
Which may include consideration of the case Without regard to that party's brief, or dismissal

of the aeti_on.

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Oral argument Will be heard in this matter only if requested by the parties and deemed

necessary by the court.

IT IS SO ORDERED.

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ITED STATES DISTRICT JUDGE

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DATE

DISTRICT C URT WESTER D"ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case l:OS-CV-Ol 149 Was distributed by faX, mail, or direct printing on
July 29, 2005 to the parties listed.

 

 

Roger Stanfield

LAW OFFICE OF ROGER STANFIELD
P.O. Box 3338

Jackson, TN 38303--333

Joe A. Dycus

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J ames Todd
US DISTRICT COURT

